Case 5:18-cv-07182-EJD   Document 242-45   Filed 01/26/24   Page 1 of 8




                            TRIAL EXHIBIT 1101
        Case 5:18-cv-07182-EJD                     Document 242-45                  Filed 01/26/24             Page 2 of 8




From: Shahak Nagiel [shahak.nagiel@nextcentury.com] on behalf of Shahak Nagiel
<shahak.nagiel@nextcentury.com> [shahak.nagiel@nextcentury.com]
Sent: Tuesday, February 19, 2019 8:38 AM
To: Brad Nussbaum [brad@graphfoundation.org]
CC: Diane Griffith [diane.griffith@nextcentury.com]; John Mark Suhy [jmsuhy@igovsol.com]
Subject: Re: Neo4j licensing


Thanks for your perspective, and I did run across this Github thread (which John was involved in) that
seems to discuss this issue. However, there does not seem to be a resolution there (certainly not from
the Neo4j perspective, which defends their use of both AGPL and the Commons Clause). Are there any
other sources of information / guidance in this respect? e.g. have any independent or government legal
authorities weighed in on this to your knowledge?

                           Shahak Nagiel
                           Principal Engineer
                           w (240) 297-5089 | c (413) 274-2425
                           shahak.nagiel@nextcentury.com




2701 Technology Drive, Suite 300 | Annapolis Junction, MD 20701
main: 443.545.3100 | fax: 240.456.0010 | www.nextcentury.com




CONFIDENTIALITY NOTICE: This message is intended only for the use of the individual or to which it is addressed, and may contain
information that is privileged, confidential and exempt from disclosure under applicable law. If you are not the intended recipient,
or the employee or agent responsible to the intended recipient, please be advised that any disclosure, copying, distribution, or taking
of action based on the contents of this message is prohibited. If you have received this transmission in error, please notify the sender
immediately.


From: Brad Nussbaum <brad@graphfoundation.org>
Sent: Tuesday, February 19, 2019 11:21 AM
To: Shahak Nagiel
Cc: Diane Griffith; John Mark Suhy
Subject: Re: Neo4j licensing

The Free Software foundation, which owns rights to AGPLv3 license and its use, reviewed the
Commons Clause that had been added and determined that it was not valid. AGPLv3 has clauses
preventing additional clauses from being added and still licensing under the AGPLv3 license.

Best,
Brad



                                                                                                                            Defendants'
                                                                                                                            Trial Exhibit
                                                                                                                               1101
Case 5:18-cv-07182-EJD                   Document 242-45                Filed 01/26/24             Page 3 of 8




 On Feb 19, 2019, at 10:46, Shahak Nagiel <shahak.nagiel@nextcentury.com>
 wrote:

 Hi Brad,

 Nice to meet you as well. Could you please elaborate on this sentence:

         And when Neo4j, Inc. realized that the additional Commons
         Clause didn’t prevent usage of enterprise features, it made the
         ultimate decision to remove all enterprise modules...

 Neo4j sales guys actually contacted us recently specifically about the Commons
 Clause modifier to the AGPLv3 license, pointing out that we may be in violation of it (if
 we are using open-sourced builds of their software--including, by extension,
 ONgDB). What is this realization you are referring to?

 Appreciate your time.


                           Shahak Nagiel
                           Principal Engineer
                           w (240) 297-5089 | c (413) 274-2425
                           shahak.nagiel@nextcentury.com




 2701 Technology Drive, Suite 300 | Annapolis Junction, MD 20701
 main: 443.545.3100 | fax: 240.456.0010 | www.nextcentury.com




 CONFIDENTIALITY NOTICE: This message is intended only for the use of the individual or to which it is addressed,
 and may contain information that is privileged, confidential and exempt from disclosure under applicable law. If
 you are not the intended recipient, or the employee or agent responsible to the intended recipient, please be
 advised that any disclosure, copying, distribution, or taking of action based on the contents of this message is
 prohibited. If you have received this transmission in error, please notify the sender immediately.


 From: Brad Nussbaum <brad@graphfoundation.org>
 Sent: Tuesday, February 19, 2019 9:07 AM
 To: Shahak Nagiel
 Cc: Diane Griffith; John Mark Suhy
 Subject: Re: Neo4j licensing
 Hi Shahak,

 Nice to e-meet you.

 Our intent is to move ONgDB forward in a fully open source manner governed by The Graph
 Foundation (non-profit). ONgDB 3.5 restores the Neo4j Enterprise source code that was removed
Case 5:18-cv-07182-EJD                 Document 242-45           Filed 01/26/24          Page 4 of 8



 by Neo4j, Inc. fromhttps://github.com/neo4j/neo4j and continues development forward from there.
 Legacy Neo4j, Inc. contributions will continue to be licensed under AGPLv3 and net new Graph
 Foundation contributions will adopt a more open license structure. We are considering options right
 now from the community and would like to see the project eventually move fully to Apache2.

 Our repo (https://github.com/graphfoundation/ongdb/) has all the enterprise capabilities in 3.5. You
 can find access to new distributions on the foundation site
 at https://www.graphfoundation.org/projects/ongdb/.

 You can read more about Neo4j, Inc.’s recent changes and the full Graph Foundation response
 here: https://www.graphfoundation.org/neo4j-is-open-core-now-what-ujah7ein5mis/

 Best,
 Brad

          On Feb 19, 2019, at 08:48, John Mark Suhy <jmsuhy@igovsol.com> wrote:

          I wanted to introduce you to Brad Nussbaum from the Graph Foundation.

          He can tell you more about the high level goals and plans around ONgDB and
          answer any specific questions as well relating to ONgDB.

          I cc’d him on this thread.

          Have a good day,

          John Mark



          On Mon, Feb 18, 2019 at 8:01 PM Shahak Nagiel
          <shahak.nagiel@nextcentury.com> wrote:
           No concerns on my part; I'm just trying to understand the plans
           and the implications for the future. So will the Community portion
           of the codebase be merged from the neo4j repo for every
           release?

           Thanks, and good evening.

           Get Outlook for Android


           From: John Mark Suhy <jmsuhy@igovsol.com>
           Sent: Monday, February 18, 2019 7:41:07 PM
           To: Shahak Nagiel
           Cc: Diane Griffith
           Subject: Re: Neo4j licensing
           Yes - the graph foundation will be managing the enterprise features moving
           forward.

           If you are using ONgDB and have any concerns, or don't see it keeping up with
           enterprise features, you can always switch to a commercial Neo4j Enterprise
           package through any partner on the Neo4j.comwebsite.
Case 5:18-cv-07182-EJD          Document 242-45              Filed 01/26/24    Page 5 of 8



        On Mon, Feb 18, 2019 at 7:37 PM Shahak Nagiel
        <shahak.nagiel@nextcentury.com> wrote:
         Thanks, John. That helps, but this basically means that all
         enterprise changes moving forward (big fixes and new features
         alike) are completely forked off from Neo4j proper, right? Any
         concerns about long-term consistency/parity/maintainability?

         Get Outlook for Android


         From: John Mark Suhy <jmsuhy@igovsol.com>
         Sent: Monday, February 18, 2019 7:29:00 PM
         To: Shahak Nagiel
         Cc: Diane Griffith
         Subject: Re: Neo4j licensing



         Check out this issue - It may help you with your question.

         https://github.com/graphfoundation/ongdb/issues/3


         On Mon, Feb 18, 2019 at 6:33 PM Shahak Nagiel
         <shahak.nagiel@nextcentury.com> wrote:
          Hi John,

          I presume you're aware that, as of the 3.5 branch in github, Neo4j
          seems to have close-sourced the entire enterprise/
          directory. (Here's one commit that was related.)

          What's your take on this? Where does this leave ONgDB moving
          forward?

          Regards,
          Shahak


                                 Shahak Nagiel
                                 Principal Engineer
                                 w (240) 297-5089 | c (413) 274-2425
                                 shahak.nagiel@nextcentury.com




          2701 Technology Drive, Suite 300 | Annapolis Junction, MD 20701
          main: 443.545.3100 | fax: 240.456.0010 | www.nextcentury.com
Case 5:18-cv-07182-EJD             Document 242-45                  Filed 01/26/24              Page 6 of 8




         CONFIDENTIALITY NOTICE: This message is intended only for the use of the individual
         or to which it is addressed, and may contain information that is privileged, confidential
         and exempt from disclosure under applicable law. If you are not the intended recipient,
         or the employee or agent responsible to the intended recipient, please be advised that
         any disclosure, copying, distribution, or taking of action based on the contents of
         this message is prohibited. If you have received this transmission in error, please notify
         the sender immediately.


         From: John Mark Suhy <jmsuhy@igovsol.com>
         Sent: Monday, October 22, 2018 9:50 PM
         To: Shahak Nagiel
         Cc: Diane Griffith
         Subject: Re: Neo4j licensing
         Good evening,


         The 'closed source components' referenced actually do have the related
         source code in the git repositories. Neo4j Inc removed the code from the
         current branches but they were still in the history.

         We actually package these feature's source code back into the open source
         distributions. Turning features such as causal clustering encryption back on.
         See: https://github.com/GraphFoundation/neo4j-oe

         Also, you can read the following post to understand more about what they
         have done.
         See: https://blog.igovsol.com/2017/11/14/Neo4j-330-is-out-but-where-are-
         the-open-source-enterprise-binaries.html

         These are just some of the reasons brand name justification for Neo4j
         Enterprise commercial packages is hard to support. Not to mention the US
         Treasury has now adopted ONgDB Enterprise - which is the same code
         base, with just a different name and removal of the commons clause.

         Even more, a side by side comparison of the commercial and open source
         enterprise distributions don't give an advantage from a technical perspective
         to the commercial side because they have the same feature parity as they
         come from the same core code base.

         In fact the open source distributions have no limits on the number of cluster
         instances, cores, etc - not to mention they are 100% free.

         Usually which one you go with falls to the cost of production support. From a
         past performance perspective, the open source distributions are actually in
         production in the Federal government and there are companies such as us ,
         AtomRain, GraphGrid, etc all have past performance providing production
         support for federal agencies for Neo4j Enterprise open source licenses.

         One thing you will find in your research is that Neo4j partners are not allowed
         to promote or support the open source licenses, and furthermore , Neo4j Inc
         usually assigns a single partner to a specific deal, so from the commercial
         perspective, you actually have less options.

         I would be happy to connect you with the US Treasury team we work with
         who are some of the original teams who moved to the open source enterprise
         distributions of Neo4j. They have met with other agencies in the past to
         share their experience.
Case 5:18-cv-07182-EJD         Document 242-45             Filed 01/26/24   Page 7 of 8



         Feel free to call me anytime if you have more questions.



         John Mark Suhy
         iGov Inc
         jmsuhy@igovsol.com
         703-862-7780
         https://igovsol.com

         On Mon, Oct 22, 2018 at 8:50 PM Shahak Nagiel
         <shahak.nagiel@nextcentury.com> wrote:
          Hi John,

          I am trying to better understand the licensing nuances of Neo4j
          Enterprise Edition, and came across some posts you made on
          StackOverflow.

          Neo4j's github repo includes this at the bottom in the License
          section (emphasis mine):

                 Neo4j Enterprise consists of modules from Neo4j
                 Community Edition and modules licensed under AGPLv3
                 with the Commons Clause in this repository, and other
                 closed source components not present in this
                 repository.

                 When packaged as a binary, Enterprise Edition includes
                 additional closed-source components not available in
                 this repository and requires a commercial license from
                 Neo4j Sweden AB or one of its affiliates.



          I'm curious whether you're familiar with what this means (i.e.
          what's excluded), especially given that one of the sub-
          modules seems to be the Enterprise bundle?


                                 Shahak Nagiel
                                 Principal Engineer
                                 w (240) 297-5089 | c (413) 274-2425
                                 shahak.nagiel@nextcentury.com




          2701 Technology Drive, Suite 300 | Annapolis Junction, MD 20701
          main: 443.545.3100 | fax: 240.456.0010 | www.nextcentury.com
Case 5:18-cv-07182-EJD               Document 242-45                  Filed 01/26/24             Page 8 of 8




            CONFIDENTIALITY NOTICE: This message is intended only for the use of the individual
            or to which it is addressed, and may contain information that is privileged, confidential
            and exempt from disclosure under applicable law. If you are not the intended recipient,
            or the employee or agent responsible to the intended recipient, please be advised that
            any disclosure, copying, distribution, or taking of action based on the contents of
            this message is prohibited. If you have received this transmission in error, please notify
            the sender immediately.
       --
       John Mark Suhy
       iGov Inc
       jmsuhy@igovsol.com
       703-862-7780
       https://igovsol.com
